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UNITED STATES v. RYAN WESLEY ROUTH

CASE NO. 24-80116-CR-CANNON/MCCABE
GOV’TS FOURTH RESPONSE TO STANDING DISCOVERY ORDER
Date Produced via USAFX: December 4, 2024
Bates Range: Gov007524-7627

FILE:

35967511 Oct 02 2024 16 45 41 PM
35967511 Oct 08 2024 18 43 28 PM
TRULINCS-Oct 8 2024 - 1545 email.pdf
TRULINCS-Oct 15-23 2024.pdf
35967511 Oct 01 2024 16 55 53 PM
35967511 Oct 01 2024 19 05 08 PM
35967511 Sep 26 2024 18 52 39 PM
35967511 Sep 27 2024 08 09 33 AM
35967511 Sep 27 2024 18 49 37 PM
35967511 Sep 27 2024 20 34 21 PM
35967511 Sep 28 2024 16 57 03 PM
35967511 Sep 29 2024 17 30 50 PM
35967511 Sep 29 2024 20 01 32 PM
25-35967511-1002-MO-1 .pdf
25-35967511-1002-MO-2.pdf
25-35967511-1002-MO-3 .pdf
25-35967511-1002-MO-4.pdf

TV Report 1001-1003 2024.pdf
25-35967511-1002-MO-S5 .pdf
25-35967511-1002-MO-6.pdf
25-35967511-1002-MO-7.pdf
25-35967511-1002-MO-8 .pdf
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35967511 Oct_03_ 2024 19 23 08 PM
35967511 Oct 04 2024 14 42 34 PM
35967511 Oct 04 2024 19 17 48 PM
35967511 Oct_05 2024 19 35 41 PM
35967511 Oct_07_ 2024 15 14 15 PM
TV Report 1003-1007 2024.pdf

FOLDER: BATES Nos:.:
6724.wav (First Set: Gov007524-7606) Gov007524
3048.wav Gov007525

Gov007526
Gov007527
6724.wav Gov007528
6724.wav Gov007529
9150.wav Gov007530
6724.wav Gov007531
6724.wav Gov007532
6724.wav Gov007533
6724.wav Gov007534
6724.wav Gov007535
6724.wav Gov007536
Gov007537
Gov007538
Gov007539
Gov007540
Gov007541
Gov007542
Gov007543
Gov007544
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TV Report 1007-1008 2024.pdf
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25-35967511-1008-MO-2.pdf
25-35967511-1008-MO-3.pdf
25-35967511-1008-MO-4.pdf
25-35967511-1008-MO-5 .pdf
25-35967511-1008-MO-6.pdf
TV Report 1008-1009 2024.pdf
10.10.24 Email.pdf
25-35967511-0918-MI-1.pdf
25-35967511-0921-MI-1.pdf
35967511 Oct 09 2024 18 54 51 PM
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Gov007565
Gov007566
Gov007567
Gov007568
Gov007569
Gov007570
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TV Report 1009-1010 2024.pdf
10.10.24 Email.pdf

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TV Report 1010-1011 2024.pdf
10.15.24 Email (1).pdf

10.15.24 Email (2).pdf
25-35967511-1015-MO-1.pdf
25-35967511-1015-MO-2.pdf
25-35967511-1015-MO-3.pdf
25-35967511-1015-MO-4.pdf
25-35967511-1015-MO-5.pdf

TV Report 1011-1015 2024.pdf
25-35967511-1015-MO-6.pdf
25-35967511-1015-MO-7.pdf
25-35967511-1015-MO-8 .pdf
35967511 Oct_11_2024 18 29 18 |
35967511 Oct 11 2024 21 18 42_
35967511 Oct_12_ 2024 20 43 38 __
35967511 Oct_13_2024 18 22 21_
35967511 Oct_14 2024 19 15 09 |

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35967511 Oct 15 2024 19 49 52_
35967511 Oct 16 2024 20 19 47_
35967511 Oct 17 2024 20 39 51_
35967511 Oct 18 2024 20 47 31_
35967511 Oct 19 2024 17 34 48_
35967511 Oct 19 2024 20 15 22.
35967511 Oct 20 2024 19 36 52_
35967511 Oct 21 2024 16 52 47_
35967511 Oct 22 2024 14 40 58

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Gov007599
Gov007600
Gov007601
Gov007602
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35967511 Oct_22 2024 18 50 43 PM
35967511 Oct 23 2024 17 51 06 PM
35967511 Oct_23_ 2024 20 16 57 PM
24-35967511-0916-RFI-trans-memo.pdf
35967511 Contacts.pdf

35967511 Inmate Center Report.pdf
35967511 PD15.pdf

35967511 Photo.pdf

35967511 PP41.pdf

35967511 PP44.pdf

35967511 PP74.pdf

35967511 PSCD.pdf

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